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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:17−cr−00001
                                                       Honorable Charles R. Norgle Sr.
David Liew
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 19, 2019:


       MINUTE entry before the Honorable Charles R. Norgle as to David Liew: Sealed
motion [63] is granted. The parties are not required to appear before the court on Friday,
September 20, 2019. Mailed notice (ewf, )




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